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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Southern District of California

               In the Matter of the Search of                                )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )
                                                                             )
                                                                                            Case No.
                                                                                                        '22 MJ1894
               Silver Celero 5G Cellular Phone
               FP&F No.: 2022250400130401                                    )
                                                                             )
                       ("Target Device")
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein by reference.

located in the             Southern               District of       California , there is now concealed (identify the
                     --------
person or describe the property to be seized):
                                                                ------------
 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ff evidence of a crime;
                 •   contraband, fruits of crime, or other items illegally possessed;
                 •   property designed for use, intended for use, or used in committing a crime;
                 •   a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description

        8, USC sec. 1324                          Alien Smuggling


         The application is based on these facts:
        See Attached Affidavit of CBP Officer Adriana A. Burns, U.S. Customs and Border Protection, incorporated herein
        by reference.
          IfContinued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days: - - - - - ) is requested under
            18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant 's signature

                                                                                 Adriana A. Bums, U.S. Customs and Border Protection
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone


Date:            05/31/2022

City and state: San Diego, California                                              Hon. KAREN S. CRAWFORD, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                                           AFFIDAVIT
 1

 2              I, Adriana A. Bums, being duly sworn, hereby state as follows:

 3                                      INTRODUCTION
             1.   I submit this affidavit in support of an application for warrant(s) to search
 4
     the following electronic device(s):
 5
                          Silver Celero 5G Cellular Phone
 6
                          FP&F No.: 2022250400130401
 7                        ("Target Device")

 8
     the ("Target Device"), as further described in Attachment A and to seize evidence of crime,
 9 specifically, violations of Title 8, United States Code, Section 1324 (Alien Smuggling), as
     further described in Attachment B.
10
           2.       The requested warrant(s) relate(s) to the investigation and prosecution of
11
     Israel GOMEZ for bringing illegal aliens into the United States. The Target Device is/are
12 currently in the custody of Department of Homeland Security, Customs and Border
     Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
13
           3.       The facts set forth in this affidavit are based upon my personal observations,
14
     my training and experience, and information obtained from various law enforcement
15 personnel and witnesses, including my review of reports prepared by other law
     enforcement officers and agents. This affidavit is intended to show that there is sufficient
16
     probable cause for the requested warrant and does not purport to set forth all of my
17
     knowledge of the investigation into this matter. Dates and times are approximate.
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 1                                TRAINING AND EXPERIENCE

 2         4.     I have been employed by U.S. Customs and Border Protection since 2008 and
     am currently assigned to the San Ysidro Criminal Enforcement Unit. I graduated from the
 3
     CBP Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia.
 4
     I am a Federal Law Enforcement Officer within the meaning of Rule 41(a)(2)(C), Federal
 5 Rules of Criminal Procedure and have been a Federal Law Enforcement Officer for
     fourteen years. I am authorized by Rule 41(a) Federal Rules of Criminal Procedure to
 6
     make applications for search and seizure warrants and serve arrest warrants. I have
 7
     experience and have received training with respect to conducting investigations of
 8 immigration and criminal violations of Titles 8, 18, 19, and 21 of the United States Code.
            5.    My current duties involve the preparation of criminal and administrative cases
 9
     for prosecution, including the use oflinking related subjects and information via electronic
10 equipment and telephones. In the course of my duties, I investigate and prepare for

11 prosecution cases against persons involved in the inducement, transportation, and
     harboring of illegal aliens into and within the United States; and, the utilization of illegally-
12
     obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
13
     illegally gain entry or remain in the United States.
14          6.    During my tenure as a CBP Officer, I have participated in the investigation of
     a number of cases involving the smuggling of aliens from Mexico into the United States
15
     and transportation of illegal aliens within the United States, which have resulted in the
16 issuance of arrest warrants, search warrants, seizure warrants, and the indictments of

17 persons for alien smuggling, including drivers, passengers, and guides.
            7.    Through the course of my training, investigations, and conversations with
18
     other law enforcement personnel, I have gained a working knowledge of the operational
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     habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
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 1 aliens into the United States from Mexico and transport them throughout the Southern
     District of California. I am aware that it is a common practice for alien smugglers to work
 2
     in concert with other individuals and to do so by utilizing cellular telephones to maintain
 3
     communications with co-conspirators and/or illegal aliens in order to further their criminal
 4 activities. Because they are mobile, the use of cellular telephones permits alien smugglers
     and transporters to easily carry out various tasks related to their smuggling activities,
 5
     including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
 6
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
 7 accomplices about law enforcement activity in the area and the status of check-point
     operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 8
     locations, and/or operate alien stash houses.
 9
           8.     The smuggling of aliens generates many types of evidence, including, but not
10 limited to, cellular phone-related evidence such as voicemail messages referring to the
     arrangements of travel, names, photographs, text messaging (via SMS or other
11
     applications), and phone numbers of co-conspirators and illegal aliens. For example,
12 drivers and passengers responsible for transporting illegal aliens are typically in telephonic

13 contact with co-conspirators immediately prior to and/or following the crossing of the
     illegal aliens at the border, at which time they receive instructions, including where to pick-
14
     up the illegal aliens for transportation into the United States and where to take the illegal
15 aliens after crossing into the United States. These communications may also include

16 locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
     telephonic contact with co-conspirators prior to and following their crossing in order to
17
     make smuggling arrangements, receive instructions, and report their locations after
18
     crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to
19 months in advance of an event to recruit drivers and to coordinate the event. It is also
     common for co-conspirators to continue to contact each other by phone calls, social media,
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                                                     3

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 1 or messaging applications when contact is lost with the driver after an apprehension has
     occurred.
 2
           9.     Based upon my training, experience, and consultations with law enforcement
 3
   officers experienced in alien smuggling investigations, and all the facts and opinions set
                                                                            '
 4 forth in this affidavit, I know that cellular telephones (including their Subscriber Identity
     Module (SIM) card(s)) can and often do contain electronic evidence, including, for
 5
     example, phone logs and contacts, voice and text communications, and data, such as
 6
     emails, text messages, chats and chat logs from various third-party applications,
 7 photographs, audio files, videos, and location data. In particular, in my experience and
     consultation with law enforcement officers experienced in alien smuggling investigations,
 8
     I am aware that individuals engaged in alien smuggling may store photos and videos on
 9
     their cell phones that reflect or show co-conspirators and associates engaged in alien
10 smuggling, as well as images and videos with geo-location data identifying alien smuggling
     transportation routes, and communications to and from recruiters and organizers.
11
           10.    This information can be stored within disks, memory cards, deleted data,
12
     remnant data, slack space, and temporary or permanent files contained on or in the cellular
13 telephone. Specifically, searches of cellular telephones may yield evidence:

14
           a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                  States;
15
           b.    tending to identify accounts, facilities, storage devices, and/or services-such
16               as email addresses, IP addresses, and phone numbers-used to facilitate alien

17               smuggling and transportation of smuggled aliens;
           C.    tending to identify co-conspirators, criminal associates, or others involved in
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                 alien smuggling, or transportation of smuggled aliens;
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 1         d.    tending to identify travel to or presence at locations involved in the smuggling,
                 transportation, or harboring ofillegal aliens, such as stash houses, load houses,
 2
                 or delivery points;
 3
           e.    tending to identify the user of, or persons with control over or access to, the
 4               Target Device(s); and/or
           f.    tending to place in context, identify the creator or recipient of, or establish the
 5
                 time of creation or receipt of communications, records, or data involved in the
 6
                 activities described above.
 7
                          FACTS SUPPORTING PROBABLE CAUSE
 8
           11.    On May 27, 2022, at approximately 4:10 P.M. Israel GOMEZ (Defendant) a
 9 United States Citizen, made application for admission into the United States from Mexico

10 via the vehicle primary lanes at the San Ysidro, California Port of Entry, driving a 2004
     Chrysler Pacifico bearing California license plates. Upon inspection before a United States
11
     Customs and Border Protection (CBP) officer assigned to Anti-Terrorism and Contraband
12
     Enforcement Team (A-TCET) was roving pre-primary lanes, approached the vehicle
13 driven by Defendant a sole visible occupant. The A-TCET Officer approached the rear of
     the vehicle and observed a blanket covering something large in the cargo area. Defendant
14
     presented his United States passport as proof of identity and citizenship. The A-TCET
15
     Officer asked Defendant why he went to Mexico, Defendant responded mechanic. The A-
16 TCET Officer asked Defendant what type of work was done to the vehicle, Defendant
     responded with a stutter and said brakes. The A-TCET Officer observed discrepancies in
17
     Defendants story and elected to conduct a cursory inspection on the vehicle. The A-TCET
18
     Officer asked Defendant to unlock all the doors in the vehicle. The A-TCET Officer opened
19 the rear driver side door discovering an individual concealed under a blanket between the
     second and third row seats and discovered another individual concealed under a blanket in
20
                                                 5

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 1 the rear cargo area. The A-TCET Officer requested for assistance, Defendant was
     handcuffed and escorted to security office, vehicle was driven by another CBP Officer to
 2
     vehicle secondary for further inspection.
 3
           12.    In vehicle secondary lot, an assigned CBP Officer assisted the male
 4 individuals out of the cargo rear area and in between the second and third row seats. The
     male individuals were found to be citizens of Mexico without any documents that would
 5
     permit them to enter or remain in the United States. The male individuals were identified
 6 as Fredy LOPEZ-Jimenez (Material Witness 1) Efrain HUERTA-Hernandez (Material

 7 Witness 2) and are being held as a Material Witnesses.
           13.    During a videotaped interview, Material Witnesses admitted to being citizens
 8
     of Mexico with no documents to lawfully enter or reside in the United States. Material
 9
     Witness 1 stated his friend made all the arrangements. Material Witness 1 stated he was to
10 pay an unknown amount to the smugglers. Material Witness 1 stated he was traveling to
     Santa Maria, California to live and seek unlawful employment.
11
           14.    Material Witness 2 stated his brothers who live in the United States made all
12 the arrangements. Material Witness 2 stated he was to pay an unknown amount to the

13 smugglers. Material Witness 2 stated he was traveling to Artesia, California to live and
     seek unlawful employment.
14
           15.    The Target Device was discovered in GOMEZ's personal effects and was
15
     subsequently seized.
16         16.    Based upon my expenence and training, consultation with other law
     enforcement officers experienced in alien smuggling investigations, and all the facts and
17
     opinions set forth in this affidavit, I believe that telephone numbers, contact names,
18
     electronic mail (email) addresses, appointment dates, messages, pictures and other digital
19 information are stored in the memory of the Target Device. In light of the above facts and
     my experience and training, there is probable cause to believe that Defendant was using
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                                                 6

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 1 the Target Device to communicate with others to further the smuggling of illegal aliens
     into the United States. Further, in my training and experience, alien smugglers may be
 2
     involved in the planning and coordination of transporting and smuggling events in the days
 3
     and weeks prior to an event. Co-conspirators are also often unaware of a defendant's arrest
 4 and will continue to attempt to communicate with a defendant after their arrest to determine
     the whereabouts of the aliens. Based on my training and experience, it is also not unusual
 5
     for individuals, such as Defendant, to attempt to minimize the amount of time they were
 6
     involved in their smuggling activities, and for the individuals to be involved for weeks and
 7 months longer than they claim. Accordingly, I request permission to search the Target
     Device for data beginning on April 27, 2022, up to and including May 27, 2022.
 8

 9
                                        METHODOLOGY
10         17.    It is not possible to determine, merely by knowing the cellular telephone's
     make, model and serial number, the nature and types of services to which the device is
11
     subscribed and the nature of the data stored on the devices. Cellular devices today can be
12
     simple cellular telephones, tablets, and text message devices, can include cameras, can
13 serve as personal digital assistants and have functions such as calendars and full address
     books and can be mini-computers allowing for electronic mail services, web services and
14
     rudimentary word processing. An increasing number of cellular service providers now
15
     allow for their subscribers to access their device over the internet and remotely destroy all
16 of the data contained on the device. For that reason, the device may only be powered in a
     secure environment or, if possible, started in "flight mode" which disables access to the
17
     network. Unlike typical computers, many cellular telephones do not have hard drives or
18
     hard drive equivalents and store information in volatile memory within the device or in
19 memory cards inserted into the device. Current technology provides some solutions for
     acquiring some of the data stored in some cellular telephone models using forensic
20
                                                 7
21
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 1 hardware and software. Even if some of the stored information on the device may be
     acquired forensically, not all of the data subject to seizure may be so acquired. For devices
 2
     that are not subject to forensic data acquisition or that have potentially relevant data stored
 3
     that is not subject to such acquisition, the examiner must inspect the device manually and
 4 record the process and the results using digital photography. This process is time and labor
     intensive and may take weeks or longer.
 5
           18.    Following the issuance of this warrant, a case agent familiar with the
 6 investigation will collect the subject cellular telephone and subject it to analysis. All

 7 forensic analysis of the data contained within the telephone and its memory cards will
     employ search protocols directed exclusively to the identification and extraction of data
 8
     within the scope of this warrant.
 9
           19.    Based on the foregoing, identifying and extracting data subject to seizure
10 pursuant to this warrant may require a range of data analysis techniques, including manual
     review, and, consequently, may take weeks or months. The personnel conducting the
11
     identification and extraction of data will complete the analysis within ninety (90) days of
12 the date the warrant is signed, absent further application to this court.

13
                       PRIOR ATTEMPTS TO OBTAIN TIDS EVIDENCE
14
           20.    Law enforcement has not previously attempted to obtain the evidence sought
15 by th"1s warrant.

16
                                           CONCLUSION
17
           21.    Based on the facts and information set forth above, there is probable cause to
18
     believe that a search of the Target Device will yield evidence of alien smuggling violation
19 of Title 8, United States Code, Sections 1324.

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 1         22.   Because the Target Device was seized at the time of GOMEZ's arrest and

 2 have been securely stored since that time, there is probable cause to believe that such
   evidence continues to exist on the Target Device. As stated above, I believe that the
 3
     appropriate date range for this search is from April 27, 2022, through May 27, 2022.
 4         23.   Accordingly, I request that the Court issue warrants authorizing law
     enforcement to search the item described in Attachment A and seize the items listed in
 5
     Attachment Busing the above-described methodology.
 6
           I swear the foregoing is true and correct to the best of my knowledge and belief.
 7

 8
                                           Adriana A. Bums, CBP Officer
 9

10   Sworn and attested to under oath by telephone, in accordance with Federal Rule of
     Criminal Procedure 4.1, this 31 st day of May, 2022.
11


12 ~                        ~
13 United States Magistrate Judge

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 1                                   ATTACHMENT A

 2
                               PROPERTY TO BE SEARCHED
 3

 4 The following property is to be searched:

 5                    Silver Celero 5G Cellular Phone
                      FP&F No.: 2022250400130401
 6
                      ("Target Device")
 7
   Target Device is currently in the custody of the Department of Homeland Security,
 8 Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.

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                                      ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2

 3       Authorization to search the cellular telephone described in Attachment A
   includes the search of disks, memory cards, deleted data, remnant data, slack space, and
 4
   temporary or permanent files contained on or in the cellular telephone for evidence
   described below. The seizure and search of the cellular telephone shall follow the
 5
   search methodology described in the affidavit submitted in support of the warrant.
 6

 7       The evidence to be seized from the cellular telephone will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 8 various third-party applications, photographs, audio files, videos, and location data, for
   the period of April 27, 2022 to May 27, 2022:
 9

10         a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                 States;
11
           b.    tending to identify accounts, facilities, storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate alien smuggling and transportation of smuggled aliens;
13
           C.    tending to identify co-conspirators, criminal associates, or others involved
14               in alien smuggling, or transportation of smuggled aliens;
           d.    tending to identify travel to or presence at locations involved in the
15
                 smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
16
           e.    tending to identify the user of, or persons with control over or access to,
17               the Target Device; and/or

18         f.    tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
19               in the activities described above,

20
     which are evidence of violations of Title 8, United States Code, Section 1324.
21
